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1    Sheila A.G. Armbrust (SBN 265998)
     sarmbrust@sidley.com
2    SIDLEY AUSTIN LLP
     555 California Street, Suite 2000
3    San Francisco, CA 94104
     Telephone: (415) 772-1200
4    Facsimile: (415) 772-7400
5    James W. Ducayet (pro hac vice)
     jducayet@sidley.com
6    SIDLEY AUSTIN LLP
     One South Dearborn
7    Chicago, IL 60603
     Telephone: (312) 853 7000
8    Facsimile: (312) 853 7036
9    Michele L. Aronson (pro hac vice)
     maronson@sidley.com
10   SIDLEY AUSTIN LLP
     1501 K Street NW
11   Washington, DC 20005
     Telephone: (202) 736 8000
12   Facsimile: (202) 736 8711
13   Attorneys for Defendant Tax Act, Inc.
14                               UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17

18   NICOLAS C. SMITH-WASHINGTON, on behalf          Case No. 3:23-CV-00830-VC
     of himself and all others similarly situated,   Assigned to Hon. Vince Chhabria
19
                   Plaintiff,
20                                                   DEFENDANT TAXACT, INC.’S
            v.                                       ADMINISTRATIVE MOTION TO
21                                                   CONSIDER WHETHER ANOTHER
                                                     PARTY’S MATERIAL SHOULD BE
22   TAXACT, INC.,                                   SEALED
23                 Defendant.                        Date:     July 20, 2023
                                                     Time:     10:00 a.m.
24                                                   Place:    Courtroom 4, 17th Floor
25                                                   Case Removed: February 23, 2023
26                                                   (Superior Court of California Alameda
                                                     County, Case No. 23cv026204)
27

28
        DEFENDANT TAXACT, INC.’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                    MATERIAL SHOULD BE SEALED
                                     CASE NO. 3:23-CV-00830-VC
            Case 3:23-cv-00830-VC Document 49 Filed 06/08/23 Page 2 of 2



1            Defendant TaxAct, Inc’s (“TaxAct”) moves pursuant to Civil Local Rules 7-11 and 79-5(f) to

2    seal Exhibit I and Exhibit K to the Declaration of Mark Jaeger in Support of Defendant TaxAct’s

3    Motion to Compel Arbitration and Stay Proceedings (“Mark Jaeger Declaration”).

4            Pursuant to Local Rule 79-5(f), TaxAct identifies Exhibits I and K to the Mark Jaeger

5    Declaration as containing information that Plaintiff may seek to seal in this action. Both exhibits reflect

6    Plaintiff’s sensitive personal information collected through his use of TaxAct’s services, including his

7    Taxpayer Identification Number, Social Security number, driver’s license number, birthday and details

8    of his log-in activity.

9            TaxAct has complied with Civil Local Rule 79-5(d) and the Court’s Civil Standing Order. It

10   has filed Exhibits I and K to the Mark Jaeger Declaration under seal, as attachments to an

11   Administrative Motion to File Under Seal. The unsealed Exhibits are labeled: “SEALING OF

12   ENTIRE EXHIBIT SOUGHT.”

13

14   Date: June 8, 2023                                Respectfully submitted,

15                                                By: /s/ Sheila A.G. Armbrust
                                                     Sheila A.G. Armbrust (SBN 265998)
16                                                   sarmbrust@sidley.com
17                                                   SIDLEY AUSTIN LLP
                                                     555 California Street, Suite 2000
18                                                   San Francisco, CA 94104
                                                     Telephone: (415) 772 1200
19
                                                       James W. Ducayet (pro hac vice)
20
                                                       jducayet@sidley.com
21                                                     SIDLEY AUSTIN LLP
                                                       One South Dearborn
22                                                     Chicago, IL 60603
                                                       Telephone: (312) 853 7000
23
                                                       Michele L. Aronson (pro hac vice)
24
                                                       maronson@sidley.com
25                                                     SIDLEY AUSTIN LLP
                                                       1501 K Street NW
26                                                     Washington, DC 20005
                                                       Telephone: (202) 736 8000
27
                                                       Attorneys for Defendant TaxAct, Inc.
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                                                   1
       DEFENDANT TAXACT, INC.’S ADMINISTRATIVE MOTION TO FILE PORTIONS OF DOCUMENTS UNDER SEAL
                                      CASE NO. 3:23-CV-00830-VC
